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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION



GEICO MARINE INSURANCE
COMPANY, a Maryland corporation,

                 Plaintiff,
                                                       CASE NO.:
v.

SMITH & WICK MARINE DIESEL,
INC., a Florida corporation,

                 Defendant.
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                                           COMPLAINT


        Plaintiff, GEICO MARINE INSURANCE COMPANY, a Maryland corporation, in the

above-styled    cause, sues Defendant, SMITH & WICK MARINE DIESEL, INC., a Florida

corporation.

         1.      This action is within the Diversity Jurisdiction of this Court pursuant to 28 U.S.C.

§1332, in that the parties are citizens of different states and the amount in controversy exceeds

$75,000.00.

         2.      At all relevant times, GEICO MARINE INSURANCE COMPANY (hereinafter

"GEICO") was and is a Maryland corporation and citizen of Maryland, and has its principal

place of business located at 880 South Pickett Street, Alexandria, Arlington County, Virginia.

         3.       SMITH & WICK MARINE DIESEL, INC. (hereinafter "SMITH & WICK") is a

Florida corporation and citizen of Florida, and has its principal place of business located at 110

Bandon Lane, Jupiter, Palm Beach County, Florida.
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       4.         At all relevant times, GEICO was the insurer of that certain 2006 Grand Banks

47' Europa motor vessel, HIN: GNDVOOI5F606, known as the GRAND CRU ex SALTY

LADY (hereinafter "GRAND CRU") owned by William and Carole Outerbridge (hereinafter

"Outerbridges")    by virtue of insurance policy number SPYI054335-00      providing yacht marine

insurance coverage for the GRAND CRU.

       5.         On April 18,2016 and previous dates, the Outerbridges had SMITH & WICK, a

marine diesel service company, perform various mechanical           services to the motor vessel

GRAND CRU.

       6.         On April 18, 2016, the motor vessel GRAND CRU sustained severe fire damage

as a result of a fire that was started as a result of negligent work and services provided by

SMITH & WICK, including but not limited to the failure to properly secure the vessel's batteries

and electrical system when SMITH & WICK became aware of electrical problems, including but

not limited to smoking in the vicinity of an electrical bonding plate and abnormal heating of a

control cable.

        7.        SMITH & WICK, had a duty to use reasonable care with regard to the service of

motor vessel GRAND CRU.

        8.        SMITH & WICK, breached their duty to the Outerbridges and was negligent with

regard to the service of the engines, electrical system and other components of the motor vessel

GRAND CRU in that they failed to properly secure the vessel's batteries and electrical system

when they became aware of electrical problems, including but not limited to smoking in the

vicinity of an electrical bonding plate and abnormal heating of a control cable.




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        9.      As a result of the failure of SMITH & WICK to properly service the motor vessel

 GRAND CRU and take other such steps as were necessary to avoid an electrical fire, the

 Outerbridges have suffered severe damages to their yacht, the contents of their yacht and their

 personal property.

         10.    Pursuant to claims made by the Outerbridges, GEICO has made payments to or on

 behalf of the Outerbridges for certain losses and damages suffered by the Outerbridges as a result

 of the fire on the GRAND CRU.

         11.    As a result of the payments made, referenced above, GEICO is subrogated to the

 rights of the Outerbridges to the extent of payments made, and is entitled to recover such

 payments from Defendant SMITH & WICK.

         12.    The losses suffered by GEICO total One Hundred Ninety Nine Thousand, One

 Hundred and Thirty-Seven Dollars and Eighty-Two Cents ($199,137.82) plus Twelve Thousand

 Four Hundred Forty-Six and 011100 ($12,446.01) accumulated pre-judgment interest for a grand

 total of Two Hundred Eleven Thousand Five Hundred Eighty-Three and 561100 ($211,583.83).

         13.    In addition to the above, GEICO has paid for necessary adjusting and expert

 services to properly meet its duties to its insureds, the Outerbridges, to be able to properly adjust

 the claims made.

         WHEREFORE,        Plaintiff,   GEICO   MARINE      INSURANCE        COMP ANY,       demands

 judgment for damages against Defendant, SMITH & WICK MARINE DIESEL, INC., plus pre-




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judgment interest calculated from the date of the loss, the costs of bringing this action, attorney

fees, and other such relief that this Court deems just and proper.



                                              Respectfully submitted,




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